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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

CESAR GALLARDO,
individuals on behalf of himself and
others similarly situated,
                                                            No. 1:16-cv-01055
               Plaintiffs,

v.

LOS PORTALES BOLIVAR LLC,
LOS PORTALES HENDERSON LLC,
and TOMAS LEON, and ROY SALVADOR                            JURY DEMAND
                                                            FLSA COLLECTIVE ACTION
            Defendants.
______________________________________________________________________________

                JOINT REPORT REGARDING NOTICE TO CLASS
______________________________________________________________________________

       COMES NOW THE PARTIES, through the undersigned counsel, and give notice to the

Court that they have agreed upon the content of the Notice to be provided to the putative class in

the above-captioned matter. A copy of the agreed upon Notice is attached hereto.

                                                    Jointly Submitted By:

                                                    GILBERT RUSSELL McWHERTER
                                                    SCOTT & BOBBITT PLC

                                                    s/ Michael L. Russell
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                                                     ATTORNEYS FOR PLAINTIFF

                                                     and

                                                     WIMBERLY, LAWSON, STECKEL,
                                                     SCHNEIDER & STINE, P.C.

                                                     s/ J. Larry Stine
                                                     J. LARRY STINE (GA. Bar No. 682555)
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                                                     ATTORNEY FOR DEFENDANT



                                CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that a true and exact copy of the foregoing has been
mailed electronically via the Court’s electronic filing system, to all counsel of record on this the
27th day of March 2017.


                                                     s/Michael L. Russell
